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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                      )
                                                )
       Plaintiff,                               )             No. 6:20-CR-2-REW-HAI
                                                )
 v.                                             )
                                                )                       ORDER
 LARRY ELKINS,                                  )
                                                )
       Defendant.                               )
                                                )

                                          *** *** *** ***

       After conducting Rule 11 proceedings, see DE 328 (Minute Entry), Judge Ingram

recommended that the undersigned accept Defendant Elkins’s guilty plea and adjudge him guilty

of Count 1 of the Superseding Indictment. See DE 329 (Recommended Disposition); see also DE

207 (Superseding Indictment). Judge Ingram expressly informed Defendant of his right to object

to the recommendation and to secure de novo review from the undersigned. See DE 329 at 3. The

established, 3-day objection deadline has passed, and no party has objected.

       While this Court reviews de novo those portions of a Recommended Disposition to which

a party objects, see 28 U.S.C. § 636(b)(1), it is not required to “review . . . a magistrate[] [judge’s]

factual or legal conclusions, under a de novo or any other standard, when neither party objects to

those findings.” Thomas v. Arn, 106 S. Ct. 466, 472 (1985). When the parties do not object to the

Magistrate Judge’s recommended disposition, they waive any right to review. See Fed. R. Crim.

P. 59(b); United States v. White, 874 F.3d 490, 495 (6th Cir. 2017) (“When a party . . . fails to

lodge a specific objection to a particular aspect of a magistrate judge’s report and recommendation,

we consider that issue forfeited on appeal.”); see also United States v. Branch, 537 F.3d 582, 587
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(6th Cir. 2008) (noting that “[t]he law in this Circuit is clear” that a party who fails to object to a

magistrate judge’s recommendation forfeits his right to appeal its adoption).

       The Court thus ADOPTS DE 329, accepts the plea, and ADJUDGES Larry Elkins guilty

of the offense charged in Count 1 of the Superseding Indictment. The Court further preliminarily

ADJUDGES forfeitable the DE 207 identified property, per Judge Ingram’s recommendation and

Defendant’s concession of forfeitability. The Court further CANCELS the jury trial (currently set

for October 13, 2020) as to Elkins. An Order scheduling sentencing follows. Defendant remains

detained per prior Orders.

       This the 18th day of August, 2020.
